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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

 COMPASS, INC.,

                     Plaintiff,

              v.                                    Case No. 1:25-cv-05201-JAV

 ZILLOW, INC., ZILLOW GROUP, INC.,                    PROTECTIVE ORDER
 and TRULIA, LLC,

                     Defendants.



JEANNETTE A. VARGAS, United States District Judge:
       WHEREAS, all of the parties to this action (collectively, the “Parties,” and
individually, a “Party”) request that this Court issue a protective order pursuant to
Federal Rule of Civil Procedure 26(c) to protect the confidentiality of certain non-
public and confidential material that will be exchanged pursuant to and during the
course of discovery in this case;
      WHEREAS, the Parties, through counsel, agree to the following terms;
        WHEREAS, the Parties acknowledge that this Protective Order does not confer
blanket protection on all disclosures or responses to discovery, and that the protection
it affords only extends to the limited information or items that are entitled, under the
applicable legal principles, to confidential treatment;
       WHEREAS, the Parties further acknowledge that this Protective Order does
not create entitlement to file confidential information under seal; and
       WHEREAS, in light of the foregoing, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information,
the public disclosure of which would cause harm to the producing person and/or a third
party to whom a duty of confidentiality is owed, and to protect against injury caused by
dissemination of confidential documents and information, this Court finds good cause to
issue an appropriately tailored confidentiality order governing the pretrial phase of this
action;
       IT IS HEREBY ORDERED that any person subject to this Protective Order—
including, without limitation, the Parties to this action, their representatives, agents,
experts, and consultants, all third parties providing discovery in this action, and all
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other interested persons with actual or constructive notice of this Protective Order—
shall adhere to the following terms:
    1.   Any person subject to this Protective Order who receives from any other
         person subject to this Protective Order any “Discovery Material” (i.e.,
         information of any kind produced or disclosed pursuant to and in the course of
         discovery in this action) that is (a) designated “Confidential” pursuant to the
         terms of this Protective Order (hereinafter, “Confidential Discovery
         Material”), (b) designated “Highly Confidential – Attorneys’ Eyes Only”
         pursuant to the terms of this Protective Order (hereinafter “Highly
         Confidential – AEO Discovery Material”) or (c) designated “Highly
         Confidential – Outside Counsel’s Eyes Only” pursuant to the terms of this
         Protective Order (hereinafter, “Highly Confidential – OCEO Discovery
         Material”) shall not disclose such Confidential Discovery Material, Highly
         Confidential – AEO Discovery Material, or Highly Confidential – OCEO
         Discovery Material (collectively hereinafter “PO Discovery Material”) to
         anyone else except as expressly permitted hereunder.
    2.   The person producing any given Discovery Material may designate
         Confidential only such portion of such material the public disclosure of
         which is either restricted by law or would cause harm to the business,
         commercial, financial, or personal interests of the producing person and/or a
         third party to whom a duty of confidentiality is owed and that consists of:
                (a) previously non-disclosed financial information (including, without
                    limitation, profitability reports or estimates, percentage fees,
                    design fees, royalty rates, minimum guarantee payments, sales
                    reports, and sale margins);
                (b) previously non-disclosed material relating to ownership or control
                    of any nonpublic company;
                (c) previously non-disclosed business plans, product development
                    information, or marketing plans;
                (d) any information of a personal or intimate nature regarding any
                    individual; or
                (e) any other category of information hereinafter given Confidential
                    status by the Court.
    3.   The person producing any given Discovery Material may designate the same
         as Highly Confidential – Attorneys’ Eyes Only or Highly Confidential –
         Outside Counsel’s Eyes Only provided that the following conditions are
         satisfied:



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           (a) For Discovery Material designated as Highly Confidential –
               Attorneys’ Eyes Only, the person so designating has a good faith
               belief that the subject information is among that considered to be
               extremely sensitive by the person, including but not limited to trade
               secrets or other confidential research, development, financial or
               other highly sensitive commercial information.
           (b) For Discovery Material designated as Highly Confidential –
               Outside Counsel’s Eyes Only, the person so designating has a good
               faith belief that the subject information is extremely competitively
               sensitive and disclosure of the Discovery Material to anyone other
               than outside counsel would create a substantial risk of serious
               harm to the designating person that could not be avoided by less
               restrictive means.
           (c) With respect to Highly Confidential – AEO Discovery Material and
               Highly Confidential – OCEO Discovery Material, the person must
               take care to limit any designation to specific information that
               qualifies under each designation. To the extent it is practical and
               not unduly burdensome to do so, the person must designate for
               protection only those parts of the Discovery Material that qualify –
               so that other portions of the material, documents, items, or
               communications for which protection is not warranted are not
               swept unjustifiably within the ambit of this provision of this
               Protective Order.
           (d) Highly Confidential – AEO Discovery Material and Highly
               Confidential – OCEO Discovery Material must be clearly so
               designated before the material is produced.
4.   With respect to the protected portion of any Discovery Material other than
     deposition transcripts and exhibits designated under this Protective Order,
     the producing person or that person’s counsel may designate such portion
     Confidential, Highly Confidential – Attorneys’ Eyes Only, or Highly
     Confidential – Outside Counsel’s Eyes Only by: (a) stamping or otherwise
     clearly marking the protected portion in a manner that will not interfere
     with legibility or audibility; and (b) if a party seeks to file any Discovery
     Material containing protected information designated under this Protective
     Order with the Court, then within 10 business days after the filing party
     requests the producing party redact such information, the producing party
     will redact the protected information designated under this Protective Order
     for the filing party to file, unless such information was redacted at the time
     of production.


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5.   With respect to deposition transcripts, a producing person or that person’s
     counsel may designate such portion as PO Discovery Material either by (a)
     indicating on the record during the deposition that a question calls for
     Confidential, Highly Confidential – Attorneys’ Eyes Only, or Highly
     Confidential – Outside Counsel’s Eyes Only information, in which case the
     reporter will bind the transcript of the designated testimony (consisting of
     both question and answer) in a separate volume and mark it as “Confidential
     Information Governed by Protective Order,” “Highly Confidential –
     Attorney’s Eyes Only Information Governed by Protective Order,” or “Highly
     Confidential – Outside Counsel’s Eyes Only Information Governed by
     Protective Order”; or (b) notifying the reporter and all counsel of record, in
     writing, within 30 days of the conclusion of a deposition, of the specific pages
     and lines of the transcript and/or the specific exhibits that are to be
     designated Confidential, Highly Confidential – Attorneys’ Eyes Only, or
     Highly Confidential – Outside Counsel’s Eyes Only, in which case all counsel
     receiving the transcript will be responsible for marking the copies of the
     designated transcript or exhibit (as the case may be) in their possession or
     under their control as directed by the producing person or that person’s
     counsel. During the 30-day period following the conclusion of a deposition, the
     entire deposition transcript will be treated as if it had been designated
     Confidential, Highly Confidential – Attorneys Eyes’ Only, or Highly
     Confidential – Outside Counsel’s Eyes Only.
6.   If at any time prior to the trial of this action, a producing person realizes that
     some portion(s) of Discovery Material previously produced by the producing
     person without limitation should be designated as PO Discovery Material,
     then the producing person may so designate by so apprising all prior
     recipients of the Discovery Material in writing, and thereafter such
     designated portion(s) of the Discovery Material will be deemed to be, and
     treated as, PO Discovery Material under the terms of this Protective Order.
7.   Nothing contained in this Order will be construed as: (a) a waiver by a Party
     or person of its right to object to any discovery request; (b) a waiver of any
     privilege or protection; or (c) a ruling regarding the admissibility at trial of
     any document, testimony, or other evidence.
8.   Where a producing person has designated Discovery Material Confidential,
     other persons subject to this Protective Order may only disclose such
     Discovery Material or information contained therein to:
           (a) the Parties to this action, their insurers, and counsel to their
               insurers;



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           (b) counsel retained specifically for this action, including any
               paralegal, clerical and other assistant employed by such counsel
               and assigned to this matter;
           (c) outside vendors or service providers (such as copy-service
               providers and document-management consultants, graphic
               production services or other litigation support services) hired by
               counsel and assigned to this matter, including computer service
               personnel performing duties relating to a computerized litigation
               system, provided such person has first executed a Non-Disclosure
               Agreement in the form attached hereto;
           (d) any mediator or arbitrator engaged by the Parties in this matter
               or appointed by the Court, provided such person has first executed
               a Non-Disclosure Agreement in the form attached hereto;
           (e) as to any document, its author, addressee, and any other person
               indicated on the face of the document as having received a copy;
           (f) any witness who, in the good-faith belief of counsel for a Party,
               may be called to testify at trial or deposition in this action,
               provided such person has first executed a Non-Disclosure
               Agreement in the form attached hereto;
           (g) any person retained by a Party to serve as an expert witness or
               otherwise provide specialized advice to counsel in connection with
               this action whose name has been disclosed to the designating
               person, provided such person has first executed a Non-Disclosure
               Agreement in the form attached hereto;
           (h) stenographers engaged to transcribe depositions conducted in this
               action; and
           (i) this Court, including any appellate court, and the court reporters
               and support personnel for the same.
9.   Where a person has designated Discovery Material Highly Confidential –
     Attorneys’ Eyes Only, other persons subject to this Protective Order may
     only disclose such Discovery Material or information contained therein to the
     following individuals, provided such person has first executed a Non-
     Disclosure Agreement in the form attached hereto:
           (a) outside counsel retained specifically for this action, including any
               paralegal, clerical and other assistant employed by such counsel
               and assigned to this matter;



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           (b) in-house counsel who are employees of the receiving Party and in-
               house administrative personnel solely performing duties relating
               to a computerized litigation system;

           (c) any person retained to serve as an expert witness or otherwise
               provide specialized advice to counsel in connection with this action
               whose name has been disclosed to the designating person;

           (d) outside vendors or service providers (such as copy-service
               providers and document-management consultants, graphic
               production services or other litigation support services) hired by
               counsel and assigned to this matter, including computer service
               personnel performing duties relating to a computerized litigation
               system;
           (e) any mediator or arbitrator engaged by the Parties in this matter
               or appointed by the Court;
           (f) stenographers engaged to transcribe depositions conducted in this
               action; and
           (g) this Court, including any appellate court, and the court reporters
               and support personnel for the same.
10. Where a person has designated Discovery Material Highly Confidential –
    Outside Counsel’s Eyes Only, other persons subject to this Protective Order
    may only disclose such Discovery Material or information contained therein
    to the following individuals, provided such person has first executed a Non-
    Disclosure Agreement in the form attached hereto:
           (a) outside counsel retained specifically for this action, including any
               paralegal, clerical and other assistant employed by such counsel
               and assigned to this matter;

           (b) “Designated In-House Counsel”: two in-house counsel who are
               employees of the receiving Party and (1) have no involvement in
               competitive decision-making, (2) to whom disclosure of Highly
               Confidential – OCEO Discovery Material is reasonably necessary
               for this litigation, and (3) whose names have been disclosed to the
               designating person. This also includes one in-house administrative
               employee that solely performs duties relating to a computerized
               litigation system;




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            (c) any person retained to serve as an expert witness or otherwise
                provide specialized advice to counsel in connection with this action
                whose names have been disclosed to the designating person;
            (d) outside vendors or service providers (such as copy-service
                providers and document-management consultants, graphic
                production services or other litigation support services) hired by
                counsel and assigned to this matter, including computer service
                personnel performing duties relating to a computerized litigation
                system;
            (e) any mediator or arbitrator engaged by the Parties in this matter
                or appointed by the Court;
            (f) stenographers engaged to transcribe depositions conducted in this
                action; and
            (g) this Court, including any appellate court, and the court reporters
                and support personnel for the same.
11. Where a person has designated Discovery Material Highly Confidential –
    Outside Counsel’s Eyes Only, a party’s Designated In-House Counsel may
    orally discuss only high-level summaries of information, testimony or
    documents designated as Highly Confidential – Outside Counsel’s Eyes Only
    with other employees and in-house counsel, and how such information might
    impact this litigation, in a manner that does not reveal the specific
    information that is so designated.
12. Before disclosing any PO Discovery Material to any person referenced in
    subparagraphs 8(c), 8(d), 8(f), 8(g), 9(b), 9(c), 9(d), 9(e), 10(c), 10(d), or 10(e)
    above, counsel shall provide a copy of this Protective Order to such person,
    who must sign a Non-Disclosure Agreement in the form attached hereto
    stating that the person has read the Protective Order and agrees to be
    bound by it. Said counsel shall retain each signed Non-Disclosure
    Agreement, hold it in escrow, and produce it to opposing counsel, either
    prior to such person being permitted to testify (at deposition or trial) or at
    the conclusion of the case, whichever comes first.
13. Any Party who objects to any designation of confidentiality may, at any time
    prior to the trial of this action, serve upon counsel for the designating person
    a written notice stating with particularity the grounds of the objection. If the
    Parties cannot reach agreement promptly, counsel for all Parties shall
    address their dispute to the Court in accordance with Rule 6 of this Court’s
    Individual Rules and Practices in Civil Cases.



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14. A Party may be requested to produce Discovery Material that is subject to
    contractual or other obligations of confidentiality owed to a third party.
    Within five business days of receiving the request, the receiving Party subject
    to such obligation shall inform the third party of the request and, further,
    that the third party may seek a protective order or other relief from this
    Court. If neither the third party nor the receiving Party seeks a protective
    order or other relief from this Court within 21 days of that notice, the
    receiving Party shall produce the information responsive to the discovery
    request but may affix the appropriate confidentiality designation.
15. Recipients of PO Discovery Material under this Protective Order may use
    such material solely for the prosecution and defense of this action and any
    appeals thereof, and not for any business, commercial, or competitive
    purpose, or in (or in connection with) any other litigation or proceeding.
    Nothing in this Protective Order, however, will affect or restrict the rights of
    any person with respect to its own documents or information produced in this
    action. Nor does anything in this Protective Order limit or restrict the rights
    of any person to use or disclose information or material obtained
    independently from, and not through or pursuant to, the Federal Rules of
    Civil Procedure.
16. Nothing herein will prevent any person subject to this Protective Order from
    producing any PO Discovery Material in its possession in response to a
    lawful subpoena or other compulsory process, or if required to produce by
    law or by any government agency having jurisdiction; provided, however,
    that such person receiving such a request or process shall provide written
    notice to the producing person before disclosure and as soon as reasonably
    possible, and, if permitted by the time allowed under the request, at least 10
    days before any disclosure. Upon receiving such notice, the producing person
    will have the right to oppose compliance with the subpoena, other
    compulsory process, or other legal notice if the producing person deems it
    appropriate to do so.
17. In accordance with Section 10(C) of this Court’s Individual Rules and
    Practices in Civil Cases, any person filing documents under seal must first
    file with the Court a letter-motion explaining the basis for sealing such
    documents. The Parties should be aware that the Court will unseal
    documents if it is unable to make “specific, on the record findings . . .
    demonstrating that closure is essential to preserve higher values and is
    narrowly tailored to serve that interest.” Lugosch v. Pyramid Co. of
    Onondaga, 435 F.3d 110, 120 (2d Cir. 2006) (internal quotation omitted).
    There is no presumption that PO Discovery Material will be filed with the



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     Court under seal. The Parties will use their best efforts to minimize such
     sealing.
18. The Court also retains unfettered discretion whether to afford confidential
    treatment to any Discovery Material designated under this Protective Order
    and submitted to the Court in connection with any motion, application, or
    proceeding that may result in an order and/or decision by the Court. All
    persons are hereby placed on notice that the Court is unlikely to seal or
    otherwise afford confidential treatment to any Discovery Material
    introduced in evidence at trial, even if such material was previously sealed
    or designated under this Protective Order.
19. In filing PO Discovery Material with this Court, or filing portions of any
    pleadings, motions, or other papers that disclose such PO Discovery
    Material (“Confidential Court Submission”), the Parties shall publicly file a
    redacted copy of the Confidential Court Submission via the Electronic Case
    Filing System (“ECF”). The Parties shall simultaneously file under seal via
    ECF (with the appropriate level of restriction) an unredacted copy of the
    Confidential Court Submission with the proposed redactions highlighted.
20. Each person who has access to Discovery Material that has been designated
    under this Protective Order shall take all due precautions to prevent the
    unauthorized or inadvertent disclosure of such material.
21. Any Personally Identifying Information (“PII”) (e.g., social security numbers,
    financial account numbers, passwords, and information that may be used for
    identity theft) exchanged in discovery shall be maintained by the persons
    who receive such information and are bound by this Protective Order in a
    manner that is secure and confidential. In the event that the person
    receiving PII experiences a data breach, the receiving person shall
    immediately notify the producing person of the same and cooperate with the
    producing person to address and remedy the breach. Nothing herein shall
    preclude the producing person from asserting legal claims or constitute a
    waiver of legal rights or defenses in the event of litigation arising out of the
    receiving person’s failure to appropriately protect PII from unauthorized
    disclosure.
22. If, in connection with this litigation, a party inadvertently discloses
    information subject to a claim of attorney-client privilege or attorney work
    product protection (“Inadvertently Disclosed Information”), such disclosure
    shall not constitute or be deemed a waiver or forfeiture of any claim of
    privilege or work product protection with respect to the Inadvertently
    Disclosed Information and its subject matter.



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23. If a disclosing party makes a claim of inadvertent disclosure, the receiving
    party shall, within five business days, return or destroy all copies of the
    Inadvertently Disclosed Information and provide a certification of counsel
    that all such information has been returned or destroyed.
24. Within five business days of the certification that such Inadvertently
    Disclosed Information has been returned or destroyed, the disclosing party
    shall produce a privilege log with respect to the Inadvertently Disclosed
    Information.
25. The receiving party may move the Court for an Order compelling production
    of the Inadvertently Disclosed Information. The motion shall be filed under
    seal and shall not assert as a ground for entering such an Order the fact or
    circumstances of the inadvertent production.
26. The disclosing party retains the burden of establishing the privileged or
    protected nature of any Inadvertently Disclosed Information. Nothing in this
    Order shall limit the right of any party to request an in camera review of the
    Inadvertently Disclosed Information.
27. This Protective Order shall survive the termination of the litigation and will
    continue to be binding upon all persons to whom PO Discovery Material is
    produced or disclosed. Within 30 days of the final disposition of this action,
    all Discovery Material designated under this Protective Order, and all copies
    thereof, shall promptly be returned to the producing person. Alternatively,
    upon permission of the producing person, all PO Discovery Material, and all
    copies thereof, shall be destroyed. In either event, by the 30-day deadline, the
    recipient must certify the return or destruction of all PO Discovery Material,
    and all copies thereof, by submitting a written certification to the producing
    Party that affirms that the recipient has not retained any copies, abstracts,
    compilations, summaries, or other forms of reproducing or capturing any of
    the PO Discovery Material. Notwithstanding this provision, the attorneys
    specifically retained by the Parties for representation in this action may
    retain an archival copy of all pleadings, motion papers, transcripts, expert
    reports, legal memoranda, correspondence, or attorney work product, even if
    such materials contain PO Discovery Material. Any such archival copies that
    contain or constitute PO Discovery Material remain subject to this Order.
28. All persons subject to this Protective Order acknowledge that willful
    violation of the Protective Order could subject them to punishment for
    contempt of Court. This Court shall retain jurisdiction over all persons
    subject to this Protective Order to the extent necessary to enforce any




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   obligations arising hereunder, or to impose sanctions for any contempt
   thereof.




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SO STIPULATED AND AGREED.

    July 10, 2025                           July 10, 2025
Dated:                                  Dated:

/s/ Chahira Solh                        /s/ Beau W. Buffier
Chahira Solh                            Beau W. Buffier
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SO ORDERED.



Dated: _______________________

      New York, New York


                                                 JEANNETTE A. VARGAS
                                                 United States District Judge




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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK

COMPASS, INC.,

                    Plaintiff,

             v.                                  Case No. 1:25-cv-05201-JAV

ZILLOW, INC., ZILLOW GROUP, INC.,                    NON-DISCLOSURE
and TRULIA, LLC,                                       AGREEMENT

                    Defendants.


I, ______________________ , acknowledge that I have read and understand the
Protective Order in this action governing the non-disclosure of those portions of
Discovery Material that have been designated as Confidential, Highly Confidential
– Attorneys’ Eyes Only, or Highly Confidential – Outside Counsel’s Eyes Only. I
agree that I will not disclose any such PO Discovery Material to anyone other than
for purposes of this litigation and that at the conclusion of the litigation I will
return all discovery information to the party or attorney from whom I received it.
By acknowledging these obligations under the Protective Order, I understand that
I am submitting myself to the jurisdiction of the United States District Court for
the Southern District of New York for the purpose of any issue or dispute arising
hereunder and that my willful violation of any term of the Protective Order could
subject me to punishment for contempt of Court.




Dated:__________________________                    ______________________________
